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                        BEFORE THE UNITED STATES JUDICIAL
                        PANEL ON MULTIDISTRICT LITIGATION



 In re Entresto (Sacubitril/Valsartan) Patent           MDL No. ____________________
 Litigation



             PLAINTIFF’S MOTION FOR TRANSFER OF ACTION
        TO THE DISTRICT OF DELAWARE PURSUANT TO 28 U.S.C. § 1407
      FOR COORDINATED AND CONSOLIDATED PRETRIAL PROCEEDINGS

       NOW COMES Novartis Pharmaceuticals Corporation (“Plaintiff”), plaintiff in:

           •    Novartis Pharmaceuticals Corporation v. Alkem Laboratories Ltd., Aurobindo
                Pharma USA Inc., Aurobindo Pharma Ltd., Biocon Pharma Limited, Biocon
                Limited, Biocon Pharma, Inc., Crystal Pharmaceutical (Suzhou) Co., Ltd., Laurus
                Labs Limited, Laurus Generics Inc., Lupin Atlantis Holdings, S.A., Lupin Limited,
                Lupin Inc., Lupin Pharmaceuticals, Inc., Nanjing Noratech Pharmaceutical Co.,
                Limited, Teva Pharmaceuticals USA, Inc., Torrent Pharma Inc., Torrent
                Pharmaceuticals Ltd., Case No. 1:19-cv-01979-LPS (D. Del.);

           •    Novartis Pharmaceuticals Corporation v. Alembic Pharmaceuticals Limited,
                Alembic Global Holding SA, Alembic Pharmaceuticals, Inc., Macleods
                Pharmaceuticals Ltd., Macleods Pharma USA, Inc., Natco Pharma Limited,
                Natco Pharma, Inc., Case No. 1:19-cv-02021-LPS (D. Del.);

           •    Novartis Pharmaceuticals Corporation v. Dr. Reddy’s Laboratories, Inc., Dr.
                Reddy’s Laboratories, Ltd., Hetero USA Inc., Hetero Labs Limited, Hetero Labs
                Limited Unit III, MSN Pharmaceuticals Inc., MSN Laboratories Private Limited,
                MSN Life Sciences Private Limited, Mylan Pharmaceuticals Inc., Mylan Inc.,
                Mylan Laboratories Limited, Novugen Pharma (Malaysia) Sdn. Bhd., Zydus
                Pharmaceuticals (USA) Inc., Cadila Healthcare Ltd., Case No. 1:19-cv-02053-
                LPS (D. Del.); and

           •    Novartis Pharmaceuticals Corporation v. Mylan Pharmaceuticals Inc., Mylan
                Inc., Mylan Laboratories Limited, Case No. 1:19-cv-00201-IMK (N.D. W. Va.).

       Plaintiff moves that the Judicial Panel on Multidistrict Litigation enter an order pursuant

to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel on Multidistrict

Litigation transferring the Hatch-Waxman patent infringement action, Novartis Pharmaceuticals

Corporation v. Mylan Pharmaceuticals Inc., Mylan Inc., Mylan Laboratories Limited, Case No.

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1:19-cv-00201-IMK, pending in the Northern District of West Virginia (“Mylan West Virginia

Action”), to Chief Judge Leonard P. Stark in the United States District Court for the District of

Delaware for coordinated and consolidated pretrial proceedings with the three above-mentioned

Hatch-Waxman patent infringement actions already pending in the District of Delaware against

38 defendants representing 18 different generic pharmaceutical groups.

       Transfer for pretrial consolidation and coordination is proper and necessary for the

following reasons, as more fully explained in the accompanying memorandum:

       1.      This motion seeks transfer and consolidation for pretrial purposes of the Mylan

West Virginia Action with the three above-mentioned Delaware Hatch-Waxman patent

infringement actions brought by Plaintiff against the following 38 defendants: 1

               (1)(a) Alembic Pharmaceuticals Limited, (b) Alembic Global
               Holding SA, and (c) Alembic Pharmaceuticals, Inc. (collectively
               “Alembic”);

               (2) Alkem Laboratories Ltd. (“Alkem”);

               (3)(a) Aurobindo Pharma USA Inc. and (b) Aurobindo Pharma
               Ltd. (collectively “Aurobindo”);

               (4)(a) Biocon Pharma Limited, (b) Biocon Limited, and (c) Biocon
               Pharma, Inc. (collectively “Biocon”);

               (5) Crystal Pharmaceutical (Suzhou) Co., Ltd. (“Crystal Pharma”);

               (6)(a) Dr. Reddy’s Laboratories, Inc. and (b) Dr. Reddy’s
               Laboratories, Ltd. (collectively “Dr. Reddy’s”);

               (7)(a) Hetero USA Inc., (b) Hetero Labs Limited, and (c) Hetero
               Labs Limited Unit III (collectively “Hetero”);

               (8)(a) Laurus Labs Limited and (b) Laurus Generics Inc.
               (collectively “Laurus”);


1
 Plaintiff filed complaints against two additional defendants—S&B Pharma, Inc. and Teva
Pharmaceutical Industries Ltd.—but those defendants have since been dismissed. See Case No.
1:19-cv-01979-LPS, D.I. 6, 7 (D. Del.).
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               (9)(a) Lupin Atlantis Holdings, S.A., (b) Lupin Limited, (c) Lupin
               Inc., and (d) Lupin Pharmaceuticals, Inc. (collectively “Lupin”);

               (10)(a) Macleods Pharmaceuticals Ltd. and (b) Macleods Pharma
               USA, Inc. (collectively “Macleods”);

               (11)(a) MSN Pharmaceuticals Inc., (b) MSN Laboratories Private
               Limited, and (c) MSN Life Sciences Private Limited (collectively
               “MSN”);

               (12)(a) Mylan Pharmaceuticals Inc., (b) Mylan Inc., and (c) Mylan
               Laboratories Limited (collectively “Mylan”);

               (13) Nanjing Noratech Pharmaceutical Co., Limited (“Noratech”);

               (14)(a) Natco Pharma Limited and (b) Natco Pharma, Inc.
               (collectively “Natco”);

               (15) Novugen Pharma (Malaysia) Sdn. Bhd. (“Novugen”);

               (16) Teva Pharmaceuticals USA, Inc. (“Teva”);

               (17)(a) Torrent Pharma Inc. and (b) Torrent Pharmaceuticals Ltd.
               (collectively “Torrent”); and

               (18)(a) Zydus Pharmaceuticals (USA) Inc. and (b) Cadila
               Healthcare Ltd. (collectively “Zydus”).

       2.      All of the above-mentioned actions involving these 38 defendants—representing

18 different generic pharmaceutical groups—arise under the Hatch-Waxman Act. Specifically,

they arise out of defendants’ filing of Abbreviated New Drug Applications (“ANDAs”) with the

United States Food and Drug Administration (“FDA”) seeking FDA approval to manufacture

and sell generic versions of the drug product Entresto® (sacubitril/valsartan) prior to the

expiration of four patents covering Entresto® (“patents-in-suit”). 2


2
  Plaintiff has asserted U.S. Patent Nos. 8,877,938 and 9,388,134 against all defendants. Plaintiff
also has asserted U.S. Patent No. 8,101,659 against all defendants except Alembic, Lupin, and
Noratech and U.S. Patent No. 8,796,331 against all defendants except Alembic, Lupin,
Macleods, and Noratech.


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       3.      Each of the patents-in-suit is listed in the FDA’s Orange Book for Entresto®.

       4.      Twelve defendants reside in Delaware. 3 As to those ANDA-filer defendants who

do not reside in Delaware, all except Mylan agreed not to contest personal jurisdiction or venue

in the District of Delaware for purposes of patent litigation involving their respective

sacubitril/valsartan ANDAs. See Declaration Of Christopher E. Loh, filed concurrently

herewith. Plaintiff thus filed three Hatch-Waxman actions in the District of Delaware: Case No.

1:19-cv-01979-LPS (D. Del.), filed on October 17, 2019; Case No. 1:19-cv-02021-LPS (D.

Del.), filed on October 24, 2019; and Case No. 1:19-cv-02053-LPS (D. Del.), filed on October

29, 2019.

       5.      Because Mylan refused to consent to personal jurisdiction or venue in Delaware,

Plaintiff on October 30, 2019 filed a fourth, protective “back-up” Hatch-Waxman action in the

Northern District of West Virginia, where Mylan is based—the Mylan West Virginia Action—

asserting the four patents-in-suit against Mylan. Plaintiff’s claims in the Mylan West Virginia

Action are substantively identical to Plaintiff’s claims against Mylan in District of Delaware

Case No. 1:19-cv-02053-LPS (D. Del.).

       6.      Plaintiff alleges, in all four of the above-mentioned Hatch-Waxman actions, that

the submission of defendants’ ANDAs seeking approval to market generic versions of Entresto®

before the expiration of the patents-in-suit constituted acts of infringement of those patents under

35 U.S.C. § 271(e)(2)(A). All four of the above-mentioned Hatch-Waxman actions therefore




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  Alembic Pharmaceuticals Inc., Aurobindo Pharma USA Inc., Biocon Pharma, Inc., Hetero USA
Inc., Laurus Generics Inc., Lupin Inc., Lupin Pharmaceuticals, Inc., Macleods Pharma USA Inc.,
MSN Pharmaceuticals Inc., Natco Pharma, Inc., Teva Pharmaceuticals USA, Inc., Torrent
Pharma Inc.
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involve the same core issue: whether defendants have infringed or will infringe any valid and

enforceable claims of the patents-in-suit.

       7.      All four of the above-mentioned Hatch-Waxman actions are in their earliest

stages. As of today, no answers have been filed; no conferences have been held in either

Delaware or the Northern District of West Virginia; no discovery schedule is in place; and no

substantive orders have been issued. No date for an initial scheduling conference has been set in

the District of Delaware, and the initial scheduling conference in the Northern District of West

Virginia will not occur until March 3, 2020.

       8.      The four above-mentioned Hatch-Waxman actions should be centralized because

they present numerous common issues of fact and law, including, without limitation, a common

group of patents with related technology; the prosecution history of the patents-in-suit; claim

construction; the scope and content of the prior art; and objective indicia of non-obviousness.

       9.      Centralization of the four above-mentioned Hatch-Waxman actions is necessary

to eliminate the potential for inconsistent rulings on pretrial motions; to eliminate the burden of

duplicative discovery on common issues; to avoid the unnecessary use of judicial resources; and

to reduce the overall costs and burdens upon the parties. Moreover, because the above-

mentioned actions assert infringement based on the submission of ANDAs, the effect of having

inconsistent rulings regarding FDA procedures, claim construction, validity, and ANDA-based

infringement would place a significant, deleterious, and unnecessary strain on court resources.

       10.     The Panel long has acknowledged that Hatch-Waxman actions like these,

“involving the validity of complex pharmaceutical patents and the entry of generic versions of

the patent holder’s drugs are particularly well-suited for transfer under Section 1407.” In re

Kerydin (Tavaborole) Topical Sol. 5% Patent Litig., 366 F. Supp. 3d 1370, 1371 (J.P.M.L. 2019)



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(quoting In re Alfuzosin Hydrochloride Patent Litig., 560 F. Supp. 2d 1372, 1372 (J.P.M.L.

2008)). This is because of “the complexity of the allegations and regulatory framework

governing Hatch-Waxman cases, as well as the need for swift progress in litigation involving the

potential entry of generic drugs into the market.” In re Auryxia (Ferric Citrate) Patent Litig.,

MDL No. 2896, 2019 U.S. Dist. LEXIS 133975, at *2 (J.P.M.L. July 31, 2019) (quoting In re

Kerydin, 366 F. Supp. 3d at 1371). The benefits of centralization in these cases are so

compelling that the Panel has “centralized litigation consisting of only two Hatch-Waxman Act

cases.” In re Kerydin, 366 F. Supp. 3d at 1371 (citing multiple cases centralizing two Hatch-

Waxman cases).

          11.    The four above-mentioned Hatch-Waxman actions should be centralized before

Chief Judge Leonard P. Stark in the District of Delaware, who currently is presiding over three

of the four actions involving all 38 defendants representing 18 different generic pharmaceutical

groups.

          12.    Judge Stark previously has presided over complex patent actions, including a

multidistrict patent case. See, e.g., In re Auryxia, 2019 U.S. Dist. LEXIS 133975, at *3. Judge

Stark also has substantial experience with Hatch-Waxman litigation, having presided over more

than 400 Hatch-Waxman cases. See Lex Machina Search: District Judge Leonard Philip Stark

with case tag Patent:ANDA (performed December 19, 2019), filed concurrently herewith as

Exhibit A.

          13.    In 2019 alone, the Panel has transferred three other Hatch-Waxman actions

against Mylan in the Northern District of West Virginia to the District of Delaware for

consolidation with related actions pending there. See In re Palbociclib Patent Litig., 396 F. Supp.

3d 1360, 1362 (J.P.M.L. 2019); In re Auryxia, 2019 U.S. Dist. LEXIS 133975, at *2–3; In re



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Kerydin, 366 F. Supp. 3d at 1371–72. The issues and arguments presented in this motion are not

materially different from the issues and arguments that the Panel heard in the Palbociclib,

Auryxia, and Kerydin matters.

        14.    Given the foregoing, the appropriate course of action is to transfer the Mylan

West Virginia Action to Judge Stark in the District of Delaware, where it can be consolidated for

coordinated pretrial proceedings with the three Hatch-Waxman actions already pending in that

District.



Dated: December 20, 2019                             Respectfully submitted,

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